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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 17-20275-UNGARO

 UNITED STATES OF AMERICA             )
                                      )
       v.                             )
                                      )
 KEVIN FUSCO,                         )
       a/k/a “Polira,”                )
                                      )
       Defendant.                     )
 ____________________________________ )

                            GOVERNMENT’S RESPONSE TO
                          THE STANDING DISCOVERY ORDER

        The United States hereby files this response to the Standing Discovery Order. This

 response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is

 numbered to correspond with Local Rule 88.10.

 A.     1.     Attached, please find a copy of any written statements made by the Defendant.

               Enclosed, please find copies of recordings of conversations had by the Defendant.

        2.     The government is unaware of any oral statements made by the Defendant before
               or after arrest in response to interrogation by any person then known to the
               Defendant to be a government agent that the government intends to use at trial.

        3.     The Defendant did not testify before the Grand Jury.

        4.     The NCIC record of the Defendant is attached.

        5.     Books, papers, documents, photographs, tangible objects, buildings or places
               which the government intends to use as evidence at trial to prove its case in chief,
               or were obtained or belonging to the Defendant, are attached to this response to
               the extent practicable but not filed with the Court. Other items, including
               additional items that may become available at a later date, may be inspected at a
               mutually convenient time at the Office of the United States Attorney, 99
               Northeast 4th Street, Miami, Florida. Please call the undersigned to set up a date
               and time that is convenient to both parties.

               The attachments to this discovery response are not necessarily copies of all the
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             books, papers, documents, etc., that the government may intend to introduce at
             trial.

       6.    A laboratory analysis of the substance seized in connection with this case will be
             made available to you upon receipt by this office.

 B.          DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the
             disclosure and production of materials enumerated as items 1, 2 and 3 of Section
             B of the Standing Discovery Order. This request is also made pursuant to Rule
             16(b) of the Federal Rules of Criminal Procedure.

 C.          The government will disclose any information or material which may be
             favorable on the issues of guilt or punishment within the scope of Brady v.
             Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97 (1976).

 D.          The government will disclose any payments, promises of immunity, leniency,
             preferential treatment, or other inducements made to prospective government
             witnesses, within the scope of Giglio v. United States, 405 U.S. 150 (1972), or
             Napue v. Illinois, 360 U.S. 264 (1959).

 E.          The government will disclose any prior convictions of any alleged co-conspirator,
             accomplice or informant who will testify for the government at trial.

 F.          No Defendant was identified in a lineup, show up, photo spread or similar
             identification proceedings.

 G.          The government has advised its agents and officers involved in this case to
             preserve all rough notes.

 H.          The government will timely advise the Defendant of its intent, if any, to introduce
             during its case in chief proof of evidence pursuant to F.R.E. 404(b). You are
             hereby on notice that all evidence made available to you for inspection, as well as
             all statements disclosed herein or in any future discovery letter, may be offered in
             the trial of this cause, under F.R.E. 404(b) or otherwise (including the
             inextricably-intertwined doctrine).

 I.          The Defendant is an aggrieved person, as defined in Title 18, United States Code,
             Section 2510(11), of any electronic surveillance. The Defendant was intercepted
             on several occasions pursuant to a consensual wiretap on a confidential source
             phone. The recordings and consent forms are attached.

 J.          The government has ordered transcribed the Grand Jury testimony of all witnesses
             who will testify for the government at the trial of this case.
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 K.             The government will, upon defense request, deliver to any laboratory presently
                registered with the Attorney General in compliance with 21 U.S.C. § 822 and §
                823 and 21 C.F.R. 1301.13, a sufficient representative sample of any alleged
                contraband which is the subject of this indictment to allow independent chemical
                analysis of such sample.

                If there is no response within ten (10) days from the date of the Certificate of
                Service attached hereto, the bulk of the contraband/narcotics will be destroyed.
                As usual, random samples will be set aside to be used as evidence at trial.

 L.             The government does not know of any automobile, vessel, or aircraft allegedly
                used in the commission of this offense that is in the government's possession.

 M.             The government is not aware of any latent fingerprints or palm prints which have
                been identified by a government expert as those of the Defendant.

 N.             To date, the government has not received a request for disclosure of the subject-
                matter of expert testimony that the government reasonably expects to offer at trial.

 O.             The government will make every possible effort in good faith to stipulate to all
                facts or points of law the truth and existence of which is not contested and the
                early resolution of which will expedite trial. These stipulations will be discussed
                at the discovery conference.

 P.             At the discovery conference scheduled in Section A.5, above, the government will
                seek written stipulations to agreed facts in this case, to be signed by the Defendant
                and defense counsel.

        The government is aware of its continuing duty to disclose such newly discovered
 additional information required by the Standing Discovery Order, Rule 16(c) of the Federal
 Rules of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

         In addition to the request made above by the government pursuant to both Section B of
 the Standing Discovery Order and Rule 16(b) of the Federal Rules of Criminal Procedure, in
 accordance with Rule 12.1 of the Federal Rules of Criminal Procedure, the government hereby
 demands Notice of Alibi defense; the approximate time, date, and place of the offense is set forth
 in the indictment.
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         The attachments to this response include the contents of a disc labeled “Fusco Production
 Disc 1” and the contents to be placed on a 1TB hard drive, which has been requested of defense
 counsel. Further, the government is awaiting defense counsel’s response regarding a proposed
 protective order governing discovery, and will provide these materials upon entry of the order.




                                      Respectfully submitted,

                                                BENGAMIN G. GREENBERG
                                                ACTING UNITED STATES ATTORNEY


                                          By:    /s/ Francisco R. Maderal
                                                Francisco R. Maderal
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via

 CM/ECF on May 4, 2017. The attachments were not filed via CM/ECF but will be separately

 delivered upon entry of a protective order governing discovery.



                                                /s/ Francisco R. Maderal
                                                Francisco R. Maderal




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